08-13555-mg Doc 20321-1 Filed 09/27/11 Entered 09/27/11 18:35:11 Notice of
 Hearing on Motion of Deutsche Bank AG Pursuant to Section 105(A) and Pg 1 of 3
                                                  Objection Deadline: October 12, 2011 at 4 p.m.
                                                    Reply Deadline: October 17, 2011 at 12 p.m.
                                                      Hearing Date: October 19, 2011 at 10 a.m.

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New York, New York 10022
212.705.7000

Attorneys for Deutsche Bank AG


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re                                                  Chapter 11

 LEHMAN BROTHERS HOLDINGS INC., et al.,                 Case No. 08-13555 (JMP)

                     Debtors.                           Jointly Administered


               NOTICE OF HEARING ON MOTION OF DEUTSCHE BANK AG
                    PURSUANT TO SECTION 105(A) AND RULE 3013
                   TO ENFORCE SETTLEMENT APPROVAL ORDER
                 AND TO CORRECT MISCLASSIFICATION OF CLAIMS

          PLEASE TAKE NOTICE that Deutsche Bank AG has filed its Motion Pursuant to

Section 105(a) and Rule 3013 To Enforce Settlement Approval Order and To Correct

Misclassification of Claims (the “Motion”) and the accompanying Declaration of Joshua

Dorchak in Support of the Motion, with the exhibits annexed thereto.

          PLEASE TAKE FURTHER NOTICE that a hearing (the “Hearing”) will be held in

connection with the Motion before the Honorable James M. Peck, United States Bankruptcy

Judge, at the United States Bankruptcy Court for the Southern District of New York (the

“Court”), Alexander Hamilton Custom House, One Bowling Green, New York, New York

10004, Room 601, on October 19, 2011 at 10:00 a.m. (Prevailing Eastern Time).

          PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion must (a) be in

writing, (b) conform to the Bankruptcy Rules and the Local Bankruptcy Rules for the Southern


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District of New York, (c) be filed with the Bankruptcy Court (i) in accordance with General

Order M-399 (which can be found at www.nysb.uscourts.gov) by registered users of the

Bankruptcy Court’s case filing system and (ii) by all other parties in interest on a 3.5 inch disk

(preferably in Portable Document Format (PDF), Wordperfect or any other Windows-based word

processing format), with a hard copy delivered to the Chambers of the Honorable James M.

Peck, in accordance with General Order M-182 (which can be found at www.nysb.uscourts.gov),

(d) state with particularity the reasons for the objection or other response, and (e) be served upon

(i) the chambers of the Honorable James M. Peck, One Bowling Green, New York, New York

10004, Courtroom 601; (ii) counsel for Deutsche Bank, Bingham McCutchen LLP, 399 Park

Avenue, New York, New York 10022, att’n: Joshua Dorchak, Esq.; (iii) counsel for the Debtors,

Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York, 10153, att’n: Harvey

R. Miller, Esq., Lori R. Fife, Esq. and Garrett Fail, Esq.; (iv) counsel for the Official Committee

of Unsecured Creditors, Milbank, Tweed, Hadley & McCloy LLP, 1 Chase Manhattan Plaza,

New York, New York 10005, att’n: Dennis F. Dunne, Esq., Dennis O’Donnell, Esq. and Evan

Fleck, Esq.; and (v) the Office of the United States Trustee, 33 Whitehall Street, 21st Floor, New

York, New York 10004, att’n: Andy Velez-Rivera, Paul Schwartzberg, Brian Matsumoto, Linda

Riffkin and Tracy Hope Davis, so as to be filed and received by October 12, 2011 at 4 p.m.

(Prevailing Eastern Time). Only those responses that have been timely filed and served may be

considered by the Court at the Hearing.

          PLEASE TAKE FURTHER NOTICE that replies to any responses must be filed and

served in the manner described above, so as to be received by October 17, 2011 at 12 p.m.

(Prevailing Eastern Time).




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          PLEASE TAKE FURTHER NOTICE that if you fail to respond in accordance with this

Notice, the Court may grant the relief requested by the Motion without further notice or hearing.

Dated:         September 27, 2011
               New York, New York

                                             BINGHAM MCCUTCHEN LLP


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